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2                                                          DISTRICT JUDGE ROBERT S. LASNIK
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6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
7                                         AT SEATTLE
8    UNITED STATES OF AMERICA,                      )    NO. CR 14-00042RSL
                                                    )
9                  Plaintiff,                       )    ORDER CONTINUING PRE-TRIAL
                                                    )    MOTIONS AND TRIAL DATE
10                 vs.                              )
                                                    )
11   JONATHAN BOOTHE, et. al.,                      )
                                                    )
12                 Defendant.                       )
                                                    )
13                                                  )
14          THE COURT having considered the stipulated motion filed by the parties requesting
15   a continuance of the pre-trial motions filing date and trial date, as well as the Defendants’
16   speedy trial waivers, hereby finds that:
17          In light of the circumstances that are presented in the motion, THE COURT finds
18   that a failure to grant a continuance would deny counsel the reasonable time necessary for
19   effective preparation, taking into account the exercise of due diligence, within the meaning
20   of 18 U.S.C. § 3161(h)(7)(B)(iv). THE COURT also finds that the failure to grant a
21   continuance of the trial date would result in a miscarriage of justice, 18 U.S.C. §
22   3161(h)(7)(B)(i). THE COURT also finds that this case is sufficiently complex that it is
23   unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself
24   within the time limits established by this section, 18 U.S.C. § 3161(h)(7)(B)(ii). THE
25   COURT also finds that the ends of justice will be served by ordering a continuance in this
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     ORDER CONTINUING PRE-TRIAL
     MOTIONS AND TRIAL DATE - 1
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1    case, that a continuance is necessary to ensure adequate time for effective case preparation,
2    and that these factors outweigh the best interests of the public and the Defendants in a
3    speedy trial.
4           Accordingly, THE COURT ORDERS that the trial date for the Defendants is continued
5    from January 12, 2015 to April 20, 2015. It is further ORDERED that the period from
6    January 12, 2015 to April 20, 2015, will be excludable time under the Speedy Trial Act, 18
7    U.S.C. § 3161(h)(7)(A). Pretrial motions are due February 23, 2015, and the government
8    shall have until March 9, 2015 to respond to any motions.
9

10   DONE this 8th day of December, 2014.
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12                                             A
                                               Robert S. Lasnik
13                                             United States District Judge
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     ORDER CONTINUING PRE-TRIAL
     MOTIONS AND TRIAL DATE - 2
